
722 S.E.2d 603 (2012)
STATE of North Carolina
v.
Anthony HARDESTY.
No. 80P12.
Supreme Court of North Carolina.
March 8, 2012.
Anthony Hardesty, for Hardesty, Anthony.
Kimberly N. Callahan, Assistant Attorney General, for State of North Carolina.
Peter S. Gilchrist, III, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 24th of February 2012 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 8th of March 2012."
